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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                     CRIMINAL MINUTES - GENERAL



  Case No.      ED CR 19-00151 DSF                                                 Date      May 20, 2019
  Present: The Honorable       DALE S. FISCHER, UNITED STATES DISTRICT JUDGE
  Interpreter     **Spanish Interpreter, Eleazar Carrasco
                Renee Fisher                         Pat Cuneo                     Robert Steven Trisotto
                Deputy Clerk                      Court Reporter                   Assistant U.S. Attorney


   U.S.A. v. Defendant(s):       Present     Cust.    Bond       Attorneys for Defendants:     Present App. Ret.

1) Jose Luis Canales**              √         √              1) Carlos L. Juarez                  √         √
3) Carlos Romer-Coriche             √         √              3) David J. Kaloyanides              √         √


  Proceedings:       PRETRIAL CONFERENCE (Held and Completed)

       The matter is called and counsel state their appearances.

       The Court and counsel discuss the status of the case.

      The matter is currently set for trial on July 2, 2019. The parties will need additional time
and a stipulation pursuant to the Speedy Trial Act will be filed.

       The Court sets a Pretrial Conference for June 24, 2019 at 8:30 a.m.




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